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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                :
                                        :
                v.                      : CRIMINAL NO. 21cr0006 (TJK)
                                        :
DOUGLAS AUSTIN JENSEN,                  :
    Defendant.                          :


             MOTION TO WITHDRAW REQUEST FOR SHORT
                       TERM CONTINUANCE

       Douglas Jensen, by his undersigned counsel, hereby moves to withdraw his

 request to continue his trial short term.

September 19, 2022

      Defense counsel has resolved his conflict and is now prepared to move

forward with trial on September 19, 2022.

                                        Respectfully submitted,

                                                       /s/
                                        Christopher M. Davis #385582
                                        Counsel for Douglas Jensen
                                        Davis & Davis
                                        1350 Connecticut Avenue, NW
                                        Suite 202
                                        Washington, DC 20036
                                        202.234.7300


                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of this motion was served upon all counsel of

record via the Court’s CM/ECF System on this day of 16th August 2022.

                                        _________/s/____________________
                                        Christopher M. Davis
